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PATRICIA S. DODSZUWEIT             UNITED STATES COURT OF APPEALS                    TELEPHONE
                                             FOR THE THIRD CIRCUIT                  215-597-2995
          CLERK                        21400 UNITED STATES COURTHOUSE
                                              601 MARKET STREET
                                          PHILADELPHIA, PA 19106-1790
                                       Website: www.ca3.uscourts.gov

                                               April 15, 2025



Eric Lubin
Lomurro Munson Comer Brown & Schottland
4 Paragon Way
Suite 100
Freehold, NJ 07728


RE: Atlas Data Privacy Corp, et al v. Civil Data Research
Case Number: 25-1563
District Court Case Number: 1:24-cv-04143

Dear Counsel:

Pursuant to our docketing letter dated March 31, 2025, you were requested electronically file or
complete the following in the above-entitled case:

Appearance Form


The above listed forms must be completed within fourteen (14) days of the date of this letter.
The forms are available at this court's website.

IF YOU FAIL TO COMPLY, THE CASE WILL BE DISMISSED PURSUANT TO 3d Cir.
L.A.R MISC. 107.1(b) and/or 107.2(a).


Very truly yours,
Patricia S. Dodszuweit, Clerk


By: s/Laurie
Case Manager
267-299-4936
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cc: David Boies, Esq.
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